92 F.3d 1174
    U.S.v.Ronald Schramm, Anthony Decello, Oleg Vinokurov, a/k/a Alex,Michael Zubinsky, a/k/a Steve, Ashok Tyagi, Aminderjeet S.Aulakh, a/k/a, Andy, Amarbir Singh, a/k/a Sonny, MichaelDubinski, a/k/a Steve, Ronald Schramm
    NO. 94-3618
    United States Court of Appeals,Third Circuit.
    July 22, 1996
    
      Appeal From:  E.D.Pa., No. 93-00188-01,
      Lee, J.
    
    
      1
      AFFIRMED.
    
    